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                          EXHIBIT I
Case 1:25-cv-05201-JAV                                             Document 51-9                                                        Filed 07/17/25                                   Page 2 of 4
        Buy     Rent     Sell    Get a mortgage       Find an Agent
                                                                                               Zillow                                     Manage Rentals       Advertise     Help   sign In



        mow Research         Data     Market Trends      Renters      Affordability       climate Risk      Policy & Industry       Dashboards    Exclusives                              Q




                                                                                                                                           RELATED pa.,

        Home Sellers and Private Listing Networks:                                                                                           Range-bound Mortgage Rat.

        Insights From a Recent Survey                                                                                                        Buyers Need a 017,000 Raise. Afford a
                                                                                                                                             Typical Home


                                                                                                                                             May 2025 Existing Home Sales Firmer Than
                                                                                                                                             Expected. Despite Economic Uncertainty


                                                                                                                                             Uncertainty Keeps The Fed On Hold.
                                                                                                                                             Treasury ',ids Moved Higher On the News.

                                                                                                                                             may 2025 Housing Starts: starts Fall To
                                                                                                                                             Their Lowest Level In 5 Years


                                                                                                                                           More articles.




              Zillow Research   'IAN 012.5                                                      —0 0 0 0 0
        There is a growing trend by some real estate brokerages to guide sellers toward listing their homes on private
        networks rather Man on the Multiple Listing Service. That means those listings are visible only t0 buyers
        working with agents within those brokerages. The data in this post is from a January 2025 Zillow/Harris Poll
        surveyor more Man 2.000 U.S. consumers about their familiarity with private listing networks. implication on
        a listing and their preferences about where t0 list and search for homes.


        Knowledge of the Multiple Listing Service
        While older Americans are more likely to be familiarly,. the Multiple Listing service (ages 55+ vs. a,1850).
        they are less likely to know exactly what the terms private listing network., 65, vs. ages 18-041 or dual
        agency (a,     55-. vs. ages 18-44) are


         Term                   Ages 1.34         Ages 35.1                 Ages 4530           Ages 55-64        Ages 65+ who
                                who know             who know               who know            who know          know exactly
                             exactly what      exactly what           exactly what           exactly what           what this is
                                    this is             this is                 this is              this is


         Multiple                     2396                27.                     3255                    4295                  0.996
         Listing
         Service


         Private                      22.                 23.                                                                   10.
         listing
         network


         Dual                         19.                 17.                     13.                     104                   11.
         agency




        Private Listing Network Use
        More than two thirds of Americans who have worked with a real estate agent ((68%) say an agent has not
        explained to them the difference between listing on the MLS versus listing on a private listing network.
        However, 634 of those who have sold a home within the past floe years say their agent recommended listing
        on a private listing network. That's compared to 13% for those who sold more than floe years ago.


         Group                                                               Real estate agent recommended listing on a
                                                                                                         private listing network


         All sellers who worked with a real estate agent                                                                        39.


         Recent sellers (past five years) who worked with a                                                                     63.
         real estate agent


         Prior sellers (more than five years ago, who war.                                                                      134
         with a real estate age.


        A significantly higher snare of Hispanic ,(74%) and Black (73%) home sellers who used an agent to list a home
        say their agent recommended listing on a private h.,       network than did white home sellers ((24%)).

        At least part, that discrepancy is likely explained by Hispanic and Black home sellers being more likely than
        white home sellers to have sold in the past five years.,Americans who had ever sold a home, about seven in
        10 Hispanic (69.1and Black (729h) sellers had done so in Me past five years, compared to 329h of white sellers
        who said the same.


         Group                                                               Real estate agent recommended listing on a
                                                                                                         private listing network


         Hispanic home sellers who worked with a real
         estate agent


         Black. (not Hispanic) home sellers who war.                                                                            73.
         with a real estate age.


         INN. (not Hispanic) home sellers who worked                                                                            24.
         with a real estate age.


        Overall. more man two in five home sellers who say their agent recommended listing on a private listing
        network (43%) say they initially did so. but ended up switching to the MLS. That is compared to 359.6 who listed
        on a private listing network and did not switch, and 20. who listed on the MLS to begin with. Additionally.
        white home sellers whose agent recommended listing on the PLN are more than twice as likely as their
        Hispanic counterparts to say they instead listed on the MIS (26. 05.12%).


         Among home sellers who say their agent                       All     Hispanic          Black )Not           white (Not
         recommended listing on a private listing                                                Hispanic).            Hispanic)
         network


         Listed on a orNate listing network but ended up           03.            07.                     4495                  01.
         switching to the Multiple Listing Service


         Listed on a private listing network                       35.            39.                                           32.
                                                                                                          30%

         Listed on Me Multiple Listing Service                     20.            12.                     16%                   26.


        *low base size (n=91, results should be interpreted as qualitative and direcOtnal in nature
Case 1:25-cv-05201-JAV                                            Document 51-9                                                      Filed 07/17/25             Page 3 of 4
        Attitudes Toward Private Listing Networks
        More than four in five Americans (81%) say if they were selling a home it would be important to them Mat their
        home listing is viewable for free to the public on a consumer real estate website, such as Zillow and Redfin.
        White Americans are more likely than both Black and Hispanic Americans en share this sentiment. (8596 vs. 76.
        and 719, respectively)


                                                                    All     Hispanic              Black..            White [Not
                                                                                                   Hispanic)             Hispanic,


         Very important that my home listing is viewable for       3896            35.                    3795                42.
         free to the publican a consumer real estate
         website


         Somewhat important that my home listing is                42.             37.                    39.                 43.
         viewable for free to the publican a consumer real
         estate website


         NET: Very and somewhat important                          8196            71.                    7690               85.




        When asked whether viewing all for-sale home listings should be free for home shoppers, 86. of Americans
        agreed it should. About four in five Americans 18196, believe a bidding war is more likely to occur on a for-sale
        listing if more shoppers can mew it while 73% agreed that limiting access to for-sale home listings only to
        certain subsets of shoppers could lead to discrimination.


                                                                     Strongly          Somewhat              NET: Strongly and
                                                                          agree                  agree           somewhat agree


         Viewing all for-sale horne listings should be free                4.696                  4096                        8696
         for borne shoppers.


         A bidding war is more likely to occur on a for-sale               32.                    50.                         814
         listing if more shoppers can dew R.


         All available for-sale home.,           should be                 31.                    46.                        774
         accessible to home shoppers.


         Limiting access to for-sale home listings only to                 24.                    4996                       73.
         certain subsets of shoppers could lead to
         discrimination.




        Preferences on How to List a Home for Sale
        Americans are split on where they prefer Mee- home to be listed. If they were selling a home they owned. 3996
        say they would prefer to have it listed on a consumer real estate webs.. such as Zillow or Redfin, 31. say
        they would prefer to have it listed on a private listing network and 3196 had no preference.

        When presented with research from Bright MI5 that found homes listed on the NILS sell for 17.5% more than
        homes that are not 444 of those who said they would prefer Mar home is listed on a private listing network
        say they would change their mind. Older Americans (ages 45+) who preferred listing on a PLN were less likely
        than those ages 18-34 to change their preference.




                                                                                     All     Ages 18,       Ages 35-         Ages
                                                                                                     34             44        450


         Initially preferred private listing network but changed mind              50%             74.            62.         44.
         after seeing Bright MLS research


         Continued to prefer private listing network after seeing Bright           44.             26.            38.        56.
         MLS research




        Agent Qualities
        if they were selling a home. the top factor Americans say is among the most important when choosing an
        agent is the agents ability to get their home in front of the largest pool   of interested buyers (52961. Forty-five
        percent say one of the most important factors is the promise of Me highest sale price, and 374 say the
        promise of closing the sale quickly. Only 21. say one of the most important factors is access to an exclusive
        buyer network.


         Agent quality


         Ability to get the home in front of the largest pool of interested buyers         52%


         Good references                                                                   5290


         Ability to recommend an accurate sale price                                       49%


         Promise of getting the highest sale price                                         45%


         Number of homes they have sold in the area                                        42%


         Promise of being able to close the sale quickly                                   37.


         Access to an exclusive buyer network                                              21.


         Other                                                                             295




        Methodology

        This survey was conducted online within the United State by The Harris Poll on behalf of Zillow from January 2
        to 6, 2025 among 2,0870.5. adults ages 18 and older. 1.232 of whom previously sold a home. The sampling
        precision of Harris online polls is measured by using a Bayesian credible interval. For this study. the sample
        data is accurate to within -V- 2.5 percentage points using a 95% confidence level. This credible interval will be
        wider among subsets of the surveyed population of interest. For complete survey methodology. including
        weighting variables and subgroup sample sizes, please contact press@zillow.com.




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           AFFORDABILITY MARKET   TRENDS. rims

           Range-bound Mortgage                                        Buyers Need a $17,000                                           May 2025 Existing Home
           Rates                                                       Raise to Afford a Typical                                       Sales Firmer Than
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                                                                                        Home    51-9                                                   Filed  07/17/25
                                                                                                                                                         Expected, Despite...                                  Page 4 of 4


                         FEATURED                                                                                         RECENT



                         Zillow: CPI Shelter Forecast June 2025                                                           May 2025 Existing Home Sal,. Firmer Than Expected, Despite Economic
                                                                                                                          Uncertainty
                         Range-bound Mortgage Rates
                                                                                                                          Uncertainty Keeps The Fed On Hold. Treasury Yields Moved Higher On the News.
                         The National Housing Deficit Grew by 159.000 Homes in 2023. Reaching O] Million
                                                                                                                          May 2025 Housing Starts: Starts Fall To Their Lowest Level In 5 Years
                         Saying Yes to Pets Helps Landlords End a Tenant Faster
                                                                                                                          Market Tips Toward Balance as Inventory Rises and competition Eases (May 2025
                         Buyers Need a 817,000 Raise to Afford a Typical Home                                             Market Report,


                                                                                                                          Rent Growth Cools Slightly. Following For-Sale Markets Lead (May Rent Report)




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